          Case 1-17-40776-nhl        Doc 22     Filed 06/29/17      Entered 06/29/17 20:36:52




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 In re                                                               Case No. 17-40776-nhl
                                                                     CHAPTER 13
  Jenny Naranjo
                                                                     JUDGE LORD
                    Debtor
                                                                     OBJECTION TO ENTRY
                                                                     OF DISMISSAL ORDER




           David J. Doyaga, Sr., of Doyaga & Schaefer, an attorney duly admitted to practice law in the
State of New York does hereby affirm under penalty of perjury as follows:
           1. That I am the attorney for Jenny Naranjo (the “Debtor”) and am fully familiar with all the facts
and circumstances herein.
           2. This affirmation is submitted as an objection to entry of a Dismissal Order on this Case.
           3. The Debtor filed a voluntary Petition for relief pursuant to Chapter 13 of the Code under Case
number 17-40776-nhl on February 22, 2017.
           4. The adjourned date of the Motion to Dismiss was set for June 14, 2017 at 9:30 AM. The

Debtor had a family emergency and had to go to Ecuador and was not able to tender her payments to the

Marianne DeRosa, the Chapter Trustee or attend the Motion to Dismiss.

           5. I appeared at the hearing on June 14, 2017 on behalf of the Debtor.

           6. The Debtor has brought to my office a money order in the amount of $6,000 with Debtor's

counsel for the Trustee to bring herself current to June, 2017.




           WHEREFORE, it is respectfully requested that the Dismissal Order not be entered and a hearing
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scheduled on the Motion to Dismiss and Hearing on Confirmation.


Dated:    Brooklyn, New York
          June 28, 2017
                                               S/David J. Doyaga, Sr..
                                             David J. Doyaga, Sr.
                                             Doyaga & Schaefer
                                             26 Court Street, Suite 1002
                                             Brooklyn, New York 11242
                                             (718) 488-7500
